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                        EXHIBIT L
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           16                       UNITED STATES DISTRICT COURT
           17             CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION

           18       MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
                    a Delaware corporation; and
           19       CERCACOR LABORATORIES, INC.,
                    a Delaware corporation,
           20                                                     SUPPLEMENTAL DECLARATION OF
                                       Plaintiffs,                PATRICK MERCIER, PH.D. IN
           21                                                     SUPPORT OF APPLE’S OPPOSITION
                          v.                                      TO PLAINTIFFS’ MOTION FOR
           22                                                     PROTECTIVE ORDER
                    APPLE INC.,
           23       a California corporation,
           24                          Defendant.
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                       SUPPLEMENTAL MERCIER DECL. ISO APPLE’S OPPOSITION TO MOTION FOR PROTECTIVE ORDER
Wilmer Cutler
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and Dorr LLP
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                      SUPPLEMENTAL MERCIER DECL. ISO APPLE’S OPPOSITION TO MOTION FOR PROTECTIVE ORDER
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             1      I, Patrick Mercier, Ph.D., declare and state as follows:
             2            1.      I am over 21 years old and am competent to testify about the matters in this
             3      Declaration based on my personal knowledge.
             4            2.      On June 28, 2024, I submitted a declaration in support of Apple’s
             5      Opposition to Plaintiffs’ Motion for Protective Order. I incorporate that declaration in
             6      its entirety, and take this opportunity to elaborate further on my work at the Center.
             7            3.      As I previously described, I am a full professor of Electrical and Computer
             8      Engineering at the University of California, San Diego (“UCSD”). As a USCD faculty
             9      member, I am not permitted to conduct commercial activities as part of my employment.
           10             4.      As part of my work at UCSD, I am co-Director of the UCSD’s Center for
           11       Wearable Sensors (the “Center”). The Center is an academic, research-focused
           12       organization that brings together UCSD faculty, students, and other researchers in
           13       various fields, including sensors, low-power circuits, materials, electrochemistry,
           14       bioengineering, wireless network technologies, preventive medicine, and life sciences.
           15       The Center’s mission is academic, not commercial. The Center and UCSD do not use
           16       the Center’s academic research to develop any commercial products or applications for
           17       industry.
           18             5.      As co-Director of the Center, I am aware of the general research interests
           19       of the other UCSD faculty members at the Center, but I do not participate in or review
           20       every specific research project—the other faculty members are independent UCSD
           21       faculty pursuing their own academic interests in ways that I do not control. Rather, as
           22       co-Director, I work on the general promotion of our faculty and their students to
           23       potential industry “partners” and obtain funding for the Center’s work.
           24             6.      In this context, an industry partner simply refers to a company that donates
           25       to the Center. These donations come with no strings attached and no relationship to
           26       specific industry products or applications.
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                                MERCIER DECL. ISO APPLE’S OPPOSITION TO MOTION FOR PROTECTIVE ORDER
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             1            7.         Indeed, no one company controls any particular project. Center faculty
             2      submit academic research proposals to the Center, and industry partners collectively vote
             3      on which proposals will receive funding. That collective voting reflects that the goal of
             4      the Center is basic academic research that is broadly applicable across an industry, rather
             5      than specific research for any specific company. As co-Director, I do not have a vote in
             6      funding proposals.
             7            8.         Research proposals may be to fulfill either (1) industry challenge projects
             8      that the industry partners propose, or (2) open innovation projects that faculty propose.
             9      By proposing an industry challenge project, an industry partner does not get early access
           10       to the Center’s research as compared to any other partner, and Center faculty have full
           11       freedom to publish their Center-funded research. As a result, industry challenge projects
           12       are general in nature given that a company’s competitors will have access to the research,
           13       whether as a Center partner or when the results are published.
           14             9.         I understand that Plaintiffs have pointed the Center’s website describing the
           15       Center      as     “commercialization      engine     with    [a]   lab-to-market     focus.”
           16       http://wearablesensors.ucsd.edu/partner.       This is listed as a “possib[le]” benefit of
           17       partnering with the Center, is outside the Center, and not under my direction. I reiterate
           18       that the Center does not develop any specific commercial products or applications,
           19       industry partners do not suggest research beyond suggesting general industry challenge
           20       projects, and the Center and its faculty are able to publish the results of all research
           21       conducted at the Center.
           22             10.        Neither Samsung nor Google has partnered (i.e., donated to the Center) in
           23       a number of years. The Center’s website listing them as partners is out of date.
           24             11.        I have read the Protective Order, which would bar me from participating in
           25       patent prosecution activities in the field of non-invasive monitoring. I have agreed to be
           26       bound by this provision, and all other provisions of the protective order.
           27
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             1            I declare under penalty of perjury that the foregoing and the statements in my
             2      Reports are true and correct to the best of my knowledge.
             3            Executed this 2nd day of July 2024.
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             5
             6                                            By:
             7                                            Patrick Mercier, Ph.D.
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